              Case 3:22-cv-00229-RNC Document 59 Filed 09/23/22 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


      TARA KULWICKI, on behalf of herself and all
      others similarly situated,                           Case No. 3:22-CV-00229 (RNC)

                                    PLAINTIFF,

      V.



      AETNA LIFE INSURANCE COMPANY,

                                    DEFENDANT.



                                       JOINT STATUS REPORT

            Plaintiff Tara Kulwicki (“Plaintiff”) and Defendant Aetna Life Insurance Company

     (“Defendant”; together with Plaintiff, the “Parties”) respectfully submit this Joint Status Report

     pursuant to the Court’s Scheduling Order dated May 24, 2022 (ECF 54).

I.         The Status of the Case

            A.    Pending or Anticipated Motions

                    1.   Plaintiff filed her Amended Complaint on May 13, 2022 (ECF No. 42). On

                         June 3, 2022, Defendant filed a Motion to Dismiss pursuant to Rules 12(b)(1)

                         and 12(b)(7) of the Federal Rules of Civil Procedure (ECF No. 50). Plaintiff

                         filed her Memorandum in Opposition to Defendant’s Motion to Dismiss on

                         July 1, 2022 (ECF No. 55). Defendant filed its Reply brief on July 15, 2022

                         (ECF No. 56). The Parties await the Court’s decision on Defendant’s Motion.




                                                     1
         Case 3:22-cv-00229-RNC Document 59 Filed 09/23/22 Page 2 of 4




       B.    Circumstances Potentially Interfering with the Parties’ Compliance with the
             Scheduling Order

              2.    The Parties do not currently anticipate any circumstances potentially

                    interfering with the Parties’ compliance with the Scheduling Order.

       C.    Discovery to Date, Including How Many Depositions Each Party Has Taken and
             the Specific Discovery That Remains to be Completed

              3.    On June 17, 2022, the Parties exchanged the disclosures required by Fed. R.

                    Civ. P. 26(a)(1). Plaintiff’s initial document production accompanied

                    Plaintiff’s initial disclosures.

              4.    On July 22, 2022, Plaintiff sent Defendant her proposed ESI Protocol and

                    502(d) Order for Defendant’s review. Defendant responded to Plaintiff with

                    an alternate draft. On September 1, 2022, Defendant sent a proposed ESI

                    Protocol for Plaintiff’s review.

              5.    Plaintiff served her First Set of Discovery Requests on Defendant on August

                    9, 2022. On September 8, 2022, Defendant served on Plaintiff its Responses

                    and Objections to Plaintiff’s First Set of Discovery Requests, including

                    Defendant’s first production of documents.

              6.    The Parties have not yet taken any depositions to date.

II.   The Parties’ Interest in Referral for Settlement Purposes to a United States Magistrate
      Judge or the District Court’s Special Master’s Program

              7.    The Parties respectfully do not request referral for settlement purposes to a

                    United States Magistrate Judge or to the District Court’s Special Master’s

                    Program. The Parties may request a referral to private nonbinding mediation

                    at some point after the resolution of initial dispositive motions.




                                                  2
              Case 3:22-cv-00229-RNC Document 59 Filed 09/23/22 Page 3 of 4




III.       Whether the Parties Will Consent to Either a Jury Trial or a Bench Trial Before a
           Magistrate Judge

                    8.   The Parties respectfully do not consent to proceed before a United States

                         Magistrate Judge for either a bench or jury trial.

IV.        The Estimated Length of Trial

                    9.   The Parties currently anticipate that a trial of Plaintiff’s claims will take

                         between one and three weeks.



       Dated: September 23, 2022                      Respectfully submitted,

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                                                     3
Case 3:22-cv-00229-RNC Document 59 Filed 09/23/22 Page 4 of 4




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                              4
